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               6
                                          UNITED STATES DISTRICT COURT
               7
                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
               8
                                  AND FOR THE EASTERN DISTRICT OF CALIFORNIA
               9

              10 MARCIANO PLATA, et al.,                      Case No. C01-1351 TEH
              11           Plaintiffs,
                     v.
              12
                 EDMUND G. BROWN, JR., et al.,
              13           Defendants.
              14 RALPH COLEMAN, et al.,                       Case No. CIV S-90-0520 LKK JFM P
              15           Plaintiffs,
                      v.
              16
                 EDMUND G. BROWN, JR., et al.,
              17           Defendants.
              18 CARLOS PEREZ, et al.,                        Case No. C05-05241 JSW
              19           Plaintiffs,
                     v.
              20
                 MATTHEW CATE, et al.,
              21           Defendants.
              22
                 JOHN ARMSTRONG, et al.,                Case No. C94-2307 CW
              23           Plaintiffs,
              24      v.
                 EDMUND G. BROWN, JR., et al.,
              25
                           Defendants.
              26
                                       NOTICE OF FILING OF RECEIVER’S
              27                       NINETEENTH TRI-ANNUAL REPORT
              28
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                                                  NOTICE OF FILING OF RECEIVER’S NINETEENTH TRI-ANNUAL REPORT
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               1         PLEASE TAKE NOTICE that the Receiver in Plata v. Schwarzenegger, Case No. C01-

               2 1351 TEH, has filed herewith his Nineteenth Tri-Annual Report.

               3

               4 Dated: January 13, 2012                           FUTTERMAN DUPREE DODD CROLEY
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               6                                                   By:         /s/ Martin H. Dodd
                                                                           Martin H. Dodd
               7                                                           Attorneys for Receiver J. Clark Kelso
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